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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

TEXAS LEAGUE OF UNITED LATIN                     )
AMERICAN CITIZENS; NATIONAL                      )
LEAGUE OF UNITED LATIN                           )
AMERICAN CITIZENS; and JULIE                     )
HILBERG, Individually and on Behalf              )
of Others Similarly Situated,                    )
                                                 )
       Plaintiffs,                               )    CIVIL ACTION NO. SA-19-CA-00074-FB
                                                 )
V.                                               )
                                                 )
DAVID WHITLEY, in his Official Capacity          )
as Secretary of State for the State of Texas;    )
and KEN PAXTON, in his Official Capacity         )
as Attorney General for the State of Texas,      )
                                                 )
       Defendants.                               )

             ADVISORY REGARDING DEFENDANTS’ MOTION TO DISMISS

       The parties and counsel are ADVISED that the Court will hear arguments on Defendants’

Motion to Dismiss Under Rules 12(b)(1) and 12(b)(6) at the preliminary injunction hearing scheduled

to be held on February 19, 2019, at 9 a.m.

       It is so ORDERED.

       SIGNED this 11th day of February, 2019.


                                       _________________________________________________
                                      FRED BIERY
                                      UNITED STATES DISTRICT JUDGE
